
PER CURIAM.
Thanh-Thuy Thi Le, pro se, challenges (1) the trial court's order denying her motion *1008for relief from a 2014 foreclosure judgment entered in favor of Deutsche Bank National Trust Company in August 2014, (2) the trial court's order denying rehearing of its denial of the motion for relief from judgment, and (3) the trial court's order granting the bank's motion to reset the foreclosure sale. We affirm the denials of the motion to vacate and the motion for rehearing without further comment. And we dismiss the portion of this appeal that attempts to challenge the order resetting the foreclosure sale as it is not an appealable order. See Pridgen v. First Union Bank, 879 So.2d 21, 21 (Fla. 2d DCA 2004) ("An order that merely schedules a foreclosure sale is not a final appealable order. Rather, it is a purely administrative, interlocutory step in the judicial sales process.").
Affirmed in part; dismissed in part.
MORRIS, SLEET, and BADALAMENTI, JJ., Concur.
